              Case 3-20-10423-cjf                         Doc 33           Filed 03/11/20 Entered 03/11/20 22:31:10                                                  Desc Main
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 Fill in this information to identify your case:

 Debtor 1                   Michael S. Eisenga
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF WISCONSIN

 Case number           20-10423
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $             678,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $             427,685.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $          1,105,685.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $             305,092.60

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $             200,000.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $        14,702,256.99


                                                                                                                                     Your total liabilities $             15,207,349.59


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $                      0.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                      0.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
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 Debtor 1      Michael S. Eisenga                                                         Case number (if known) 20-10423

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $                0.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $            200,000.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                  0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            200,000.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Michael S. Eisenga
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF WISCONSIN

 Case number            20-10423                                                                                                                             Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        146 W. Mill Street                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
                                                                                  
                                                                                      Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Columbus                          WI        53925-0000                        Land                                       entire property?           portion you own?
        City                              State              ZIP Code                 Investment property                               $260,000.00                $260,000.00
                                                                                      Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.

                                                                                      Debtor 1 only
        Columbia                                                                      Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                      At least one of the debtors and another
                                                                                                                                      (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
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 Debtor 1         Michael S. Eisenga                                                                                            Case number (if known)          20-10423

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        Schaefer Road 76 Acres                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                     Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                     Condominium or cooperative

                                                                                     Manufactured or mobile home
                                                                                                                                      Current value of the          Current value of the
                                                                                     Land
                                                                                                                                      entire property?              portion you own?
        City                              State              ZIP Code                Investment property                                    $418,000.00                     $418,000.00
                                                                                     Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                     Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.

                                                                                     Debtor 1 only
                                                                                     Debtor 2 only
        County                                                                       Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                     At least one of the debtors and another
                                                                                                                                          (see instructions)

                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                                $678,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1     Make:         Rolls Royce                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                        Who has an interest in the property? Check one
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Comiche                                          Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:         1985                                             Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                                           Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                             At least one of the debtors and another

                                                                         Check if this is community property                                  $27,500.00                     $27,500.00
                                                                           (see instructions)



  3.2     Make:         Oldsmobile                                                                                                     Do not deduct secured claims or exemptions. Put
                                                                        Who has an interest in the property? Check one
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:                                                         Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:         1960                                             Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                                           Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                             At least one of the debtors and another

                                                                         Check if this is community property                                    $3,500.00                      $3,500.00
                                                                           (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                               page 2
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 Debtor 1        Michael S. Eisenga                                                                                 Case number (if known)       20-10423
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes
  4.1    Make:       Cobalt                                    Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                 Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2000                                       Debtor 2 only                                                Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                 $14,000.00                  $14,000.00
          Boat                                                       (see instructions)


  4.2    Make:                                                 Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                 Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2000                                       Debtor 2 only                                                Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                  $1,900.00                    $1,900.00
          Boat Landing                                               (see instructions)


  4.3    Make:                                                 Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                 Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:                                                  Debtor 2 only                                                Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                  $2,000.00                    $2,000.00
         Golf cart                                                   (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $48,900.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Books
                                    Location: 146 W. Mill Street, Columbus WI 53925
                                    Every line below is at this location                                                                                                $55.00


                                    Heater                                                                                                                              $10.00


                                    Lamp                                                                                                                                  $5.00


                                    Bookshelf                                                                                                                           $15.00


                                    Toybox                                                                                                                              $50.00


Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 3
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    I-shaped couch                                                                                         $100.00


                                    Coffee table                                                                                             $50.00


                                    Massage chair                                                                                          $200.00


                                    TV table                                                                                                 $35.00


                                    End table                                                                                                $10.00


                                    DVDs                                                                                                   $100.00


                                    Spider lamp                                                                                              $20.00


                                    Picture                                                                                                $100.00


                                    Family room clock                                                                                          $5.00


                                    Framed Grand Cayman picture                                                                              $25.00


                                    Dining room set, one table, eight chairs                                                               $500.00


                                    Oriental rug                                                                                           $300.00


                                    Recliner                                                                                               $100.00


                                    Coffee table                                                                                             $15.00


                                    Plant                                                                                                      $5.00


                                    Buffett                                                                                                $600.00


                                    Fake plant bouchet                                                                                       $75.00


                                    Wall mirror                                                                                              $75.00


                                    Glass ship                                                                                               $35.00


                                    Small three legged table                                                                                 $25.00


                                    Royal Albert country roses set                                                                         $350.00

Official Form 106A/B                                                   Schedule A/B: Property                                                 page 4
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    Red gold center piece                                                                                  $500.00


                                    Silver tea set                                                                                         $150.00


                                    Silver bowl                                                                                            $150.00


                                    Ceramic green bowl                                                                                       $25.00


                                    Small rugs set                                                                                           $50.00


                                    Mike's 4th grade painting                                                                                $50.00


                                    Silverware                                                                                               $50.00


                                    Wine glasses                                                                                           $100.00


                                    Wheat ceramic plate set                                                                                  $40.00


                                    Corelle wear set                                                                                         $30.00


                                    Steak knives                                                                                             $10.00


                                    Various cups, glasses, ladels, kitchen spoons, and bowls                                               $150.00


                                    Kurig                                                                                                    $25.00


                                    Coffee pot                                                                                               $10.00


                                    Fake flower on table                                                                                     $10.00


                                    Refrigerator                                                                                           $250.00


                                    Microwave                                                                                                $25.00


                                    Spices                                                                                                     $5.00


                                    Cookbooks                                                                                                $25.00


                                    Kitchen table and chairs                                                                               $150.00


                                    Tools and tool box                                                                                       $50.00

Official Form 106A/B                                                   Schedule A/B: Property                                                 page 5
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    Picture frames                                                                                           $50.00


                                    Mixer                                                                                                    $50.00


                                    Kitchen clock                                                                                            $25.00


                                    Whiteboard                                                                                               $15.00


                                    Griddle                                                                                                  $10.00


                                    Roast pot                                                                                                $10.00


                                    Various kitchen utensils                                                                                 $40.00


                                    Sofa                                                                                                     $75.00


                                    Burgundy wing chair                                                                                      $25.00


                                    Oriental coffee table                                                                                    $50.00


                                    Egyptian rug                                                                                           $500.00


                                    Living room end table                                                                                    $10.00


                                    Chess set                                                                                                $50.00


                                    Italian tall clock                                                                                     $750.00


                                    Italian small wall clock                                                                               $250.00


                                    Display table                                                                                          $100.00


                                    Rocking horse                                                                                            $50.00


                                    Egyptian tea set                                                                                       $150.00


                                    Second Egyptian tea set                                                                                $150.00


                                    Italian gondola                                                                                          $10.00


                                    Greek vase                                                                                               $75.00

Official Form 106A/B                                                   Schedule A/B: Property                                                 page 6
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    Picture frames                                                                                           $25.00


                                    Eastlake settee                                                                                        $350.00


                                    Drum table                                                                                               $75.00


                                    Small brass clock                                                                                        $10.00


                                    Silver containers                                                                                        $50.00


                                    Living room picture                                                                                      $50.00


                                    Third Egyptian tea set                                                                                   $50.00


                                    Large candle                                                                                               $5.00


                                    Living room ceramic tea cup                                                                              $15.00


                                    French urn                                                                                               $25.00


                                    Chinese vase                                                                                             $10.00


                                    Rose picture                                                                                           $100.00


                                    Wooden chinese statute                                                                                 $100.00


                                    Chinese pottery                                                                                      $2,500.00


                                    Picture frame on wall containing family protrait                                                         $75.00


                                    Living room floor lamp                                                                                   $50.00


                                    Living room brass floor lamp                                                                             $50.00


                                    Master - bedroom set                                                                                   $650.00


                                    Walnut wardrobe                                                                                      $1,000.00


                                    Master bedroom lamp                                                                                      $50.00


                                    Picture in bathroom of master bedroom                                                                    $35.00

Official Form 106A/B                                                   Schedule A/B: Property                                                 page 7
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    Small John 3:16 plaque                                                                                   $25.00


                                    Assorted towels, washclothes, and bedding                                                              $150.00


                                    Bedroom one - King bed and nightstand                                                                  $150.00


                                    Bedroom one - Chest                                                                                    $100.00


                                    Bedroom one - Eastlake chair                                                                           $200.00


                                    Bedroom one - child's clothes                                                                          $150.00


                                    Bedroom one - picture                                                                                    $50.00


                                    Bedroom one - toys                                                                                     $100.00


                                    Bedroom two - queen bedroom set                                                                        $150.00


                                    Bedroom two -shelf                                                                                       $10.00


                                    Bedroom two - desk                                                                                       $25.00


                                    Dog kennel                                                                                               $50.00


                                    Washer                                                                                                 $100.00


                                    Dryer                                                                                                  $100.00


                                    Iron                                                                                                     $15.00


                                    Ironing board                                                                                            $25.00


                                    Cleaning supplies and laundry supplies                                                                   $35.00


                                    Art supplies and batteries                                                                               $25.00


                                    Small chest freezer                                                                                      $75.00


                                    Utility room shelf                                                                                       $10.00


                                    Beach painting                                                                                         $200.00

Official Form 106A/B                                                   Schedule A/B: Property                                                 page 8
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    Storage closet two shelves                                                                               $40.00


                                    Christmas decorations                                                                                  $150.00


                                    Luggage                                                                                                $200.00


                                    Castle oil painting
                                     Location: 2919 N. Mill Road
                                    Every line item below is at this location                                                              $250.00


                                    Settee                                                                                                 $200.00


                                    Small table                                                                                            $150.00


                                    Umbrella urn                                                                                             $25.00


                                    Flower bouchet                                                                                           $10.00


                                    Old faithful oil painting                                                                              $250.00


                                    Two purple florals                                                                                       $30.00


                                    Poker oil painting                                                                                       $75.00


                                    Chess set table                                                                                        $275.00


                                    Basket                                                                                                   $15.00


                                    Four floor lamps                                                                                       $400.00


                                    Two leather chairs                                                                                     $600.00


                                    Books                                                                                                    $75.00


                                    Two florals on fireplace                                                                                 $20.00


                                    Player piano                                                                                           $275.00


                                    Pabst mansion figurine                                                                                   $20.00


                                    House blue prints                                                                                        $75.00


Official Form 106A/B                                                   Schedule A/B: Property                                                 page 9
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    Bankers lamp                                                                                             $50.00


                                    Small table                                                                                              $75.00


                                    Four marble pillars with bronze statutes                                                             $1,000.00


                                    Castle oil painting                                                                                    $200.00


                                    Corner table                                                                                             $50.00


                                    Cathedral oil painting                                                                                   $75.00


                                    Living room set                                                                                      $1,500.00


                                    Two area rugs                                                                                          $200.00


                                    Two Foot stools                                                                                        $200.00


                                    Piano lamp                                                                                               $15.00


                                    Beagle oil painting above fireplace                                                                      $50.00


                                    Two flower bouchets                                                                                      $20.00


                                    Dining room set, one table, thirteen chairs                                                            $650.00


                                    Large Niesch castle oil painting                                                                       $100.00


                                    Large cathedral street scene oil painting                                                              $100.00


                                    Flower bouchet                                                                                           $10.00


                                    Display table                                                                                            $35.00


                                    Tea cart                                                                                                 $75.00


                                    Two small lamps with crystal                                                                             $60.00


                                    Small end table                                                                                            $5.00


                                    Sunroom desk                                                                                             $50.00

Official Form 106A/B                                                   Schedule A/B: Property                                                 page 10
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    Chair                                                                                                    $10.00


                                    File cabinet                                                                                               $5.00


                                    Sunroom office supplies                                                                                  $25.00


                                    Sunroom living room set                                                                                $300.00


                                    Three fake flowers                                                                                       $30.00


                                    Small Venice oil painting                                                                                $55.00


                                    Medium Venice oil painting                                                                               $75.00


                                    Large Venice oil painting                                                                              $125.00


                                    Conservatory two area rugs                                                                             $250.00


                                    Conservatory dining room 1 table and 10 chairs                                                         $550.00


                                    Three fake bouchets                                                                                      $30.00


                                    Two fake red flowers                                                                                     $20.00


                                    Conservatory two fake plants                                                                             $30.00


                                    Conservatory two larger fake plants                                                                      $30.00


                                    Floor lamp                                                                                               $35.00


                                    White buffett                                                                                            $75.00


                                    Various supplies in buffett                                                                              $50.00


                                    Cutting board                                                                                            $10.00


                                    Rotan living room set                                                                                  $450.00


                                    Spring scene oil painting                                                                                $75.00


                                    French China set                                                                                       $800.00

Official Form 106A/B                                                   Schedule A/B: Property                                                 page 11
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    Two silver plates                                                                                      $200.00


                                    Various assorted dishes, plates, bowls, tablecloths, cups
                                     Location: 2919 N. Mill Road                                                                           $150.00


                                    Pantry cutting board                                                                                     $10.00


                                    Board games                                                                                              $15.00


                                    Griddle                                                                                                  $10.00


                                    Miscellanous kitchenware                                                                               $300.00


                                    Kitchen dinette set one table and six chairs                                                           $450.00


                                    Fake bouchet                                                                                             $15.00


                                    Wine fridge                                                                                              $65.00


                                    Hutch for microwave and winecooler                                                                       $75.00


                                    Refrigerator                                                                                           $250.00


                                    Various kitchen utensils                                                                                 $40.00


                                    Various washclothes, towels, knives, ladels, spatchulas, and other
                                    kitchenware                                                                                              $75.00


                                    Knife set                                                                                                $25.00


                                    Kurig                                                                                                    $15.00


                                    Coffee pot                                                                                               $15.00


                                    Small hand held blender                                                                                  $10.00


                                    Microwave                                                                                                $15.00


                                    Master bedroom set                                                                                   $1,000.00


                                    Two area rugs                                                                                          $850.00


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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    Long area rug                                                                                            $50.00


                                    Master bedroom mirror                                                                                    $50.00


                                    TV table                                                                                               $100.00


                                    Night stand lamp                                                                                       $100.00


                                    Two chairs                                                                                             $400.00


                                    Footrest                                                                                               $150.00


                                    Master bedroom clock                                                                                     $10.00


                                    Master bedroom various clothes, cleaning supplies, tolietries,
                                    towels, and washclothes                                                                                $200.00


                                    Miscellanous master bedroom items                                                                      $150.00


                                    George Washington painting                                                                             $150.00


                                    Ship oil painting                                                                                      $100.00


                                    Larger ship oil painting                                                                               $150.00


                                    Master bedroom two floor lamps                                                                           $50.00


                                    Fake flower in the master bedroom                                                                        $15.00


                                    Area rug in four season                                                                                $100.00


                                    Four season wicker                                                                                     $400.00


                                    Statute of Liberty oil painting                                                                        $150.00


                                    Bedroom two - bedroom set                                                                              $450.00


                                    Bedroom two - small bedside table                                                                        $10.00


                                    Bedroom two - lamp                                                                                       $50.00




Official Form 106A/B                                                   Schedule A/B: Property                                                 page 13
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    Bedroom two - lamp                                                                                       $15.00


                                    Bedroom two - Summer scene oil painting                                                                  $75.00


                                    Four season porch wicker                                                                               $400.00


                                    Bedroom set - fake flower                                                                                $40.00


                                    Bedroom two - Area rug in four season                                                                  $100.00


                                    Bedroom two - clock                                                                                        $5.00


                                    Bedroom two - floor lamp                                                                                 $10.00


                                    Bedroom three - bedroom set                                                                            $450.00


                                    Bedroom three - small floor shelf                                                                        $10.00


                                    Bedroom three - clock                                                                                      $5.00


                                    Bedroom three - lamp                                                                                     $35.00


                                    Bedroom three - rocking chair                                                                            $50.00


                                    Bedroom four - Bedroom set                                                                             $450.00


                                    Bedroom four - lamp                                                                                      $40.00


                                    Bedroom five - bed                                                                                     $100.00


                                    Bedroom five - nightstand                                                                                $25.00


                                    Bedroom five - chair                                                                                     $25.00


                                    Bedroom five - coffe table                                                                               $35.00


                                    Approximately two sets of towlels ,washclothes, hand towels,
                                    soaps, shampoo, bedding, comforters, and misc for entire house                                         $450.00


                                    Supply closet - light bulbs, assorted parts, and light fixtures                                        $100.00




Official Form 106A/B                                                   Schedule A/B: Property                                                 page 14
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    2nd floor bathroom decoration                                                                            $25.00


                                    Bedroom six - bedroom set                                                                              $300.00


                                    Bedroom six - table                                                                                      $25.00


                                    Bedroom six - wicker sofa                                                                              $200.00


                                    2nd floor hall - Four fall scene oil paintingss                                                        $300.00


                                    2nd floor hall - Ships oil painting                                                                      $75.00


                                    2nd floor hall - Oil painting at the end of the hall                                                     $75.00


                                    Bedroom seven - Wicker bed set                                                                         $200.00


                                    Bedroom seven - wicker couch                                                                           $200.00


                                    Bedroom seven - wicker chair                                                                             $75.00


                                    Bedroom seven - wicker rocker                                                                          $125.00


                                    Bedroom seven - wicker settee                                                                          $100.00


                                    Bedroom seven - wicker coffee table                                                                    $125.00


                                    Bedroom seven - two wicker end tables                                                                  $100.00


                                    Bedroom seven - two window AC units                                                                    $400.00


                                    Billard oil painting                                                                                     $75.00


                                    Two director chairs                                                                                    $100.00


                                    Game table                                                                                             $100.00


                                    Pool table                                                                                             $350.00


                                    Sofa                                                                                                     $75.00


                                    Two end tables                                                                                           $40.00

Official Form 106A/B                                                   Schedule A/B: Property                                                 page 15
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    Pool sticks and assorted items                                                                           $75.00


                                    Media room - six chairs                                                                                $300.00


                                    Media room - TV table                                                                                    $50.00


                                    Media room - various games and DVDs                                                                      $75.00


                                    Media room - three bean bag chairs                                                                       $12.00


                                    Media room - heater                                                                                      $10.00


                                    Playroom - two chairs                                                                                  $100.00


                                    Play room - end table                                                                                    $15.00


                                    Art easel                                                                                                $10.00


                                    Bonus room - five twin beds                                                                            $150.00


                                    Bonus room - heater                                                                                      $15.00


                                    Bonus room - dog kennel                                                                                  $25.00


                                    Washer                                                                                                 $150.00


                                    Dryer                                                                                                  $150.00


                                    Utility room - table                                                                                     $50.00


                                    Beach towels                                                                                             $65.00


                                    Assorted cleaning supplies and tools                                                                     $75.00


                                    Wildwood mosaic                                                                                          $15.00


                                    Weber grill                                                                                            $150.00


                                    Rakes, shovels, garden supplies, and utensils                                                          $125.00


                                    Nine beach chairs and two beach small foot rests                                                         $75.00

Official Form 106A/B                                                   Schedule A/B: Property                                                 page 16
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    Two old sofas                                                                                            $20.00


                                    Clubhouse miscelleanous items                                                                            $25.00


                                    Pool supplies                                                                                            $75.00


                                    Patio set -12 chairs, 2 loungers, 2 tables, 2 umbrellas                                                $600.00


                                    plastic table                                                                                            $15.00


                                    Basement - two tables                                                                                    $60.00


                                    Basement - ten chairs                                                                                  $100.00


                                    Basement - four area heaters                                                                             $50.00


                                    Basement - refrigerator                                                                                  $25.00


                                    Basement - chest freezer                                                                                 $75.00


                                    Basement - tools                                                                                         $75.00


                                    Basement - three area rugs                                                                             $500.00


                                    Basement - boys toys                                                                                   $100.00


                                    Basement - four Christmas trees and decorations                                                        $400.00


                                    Nativity set                                                                                             $50.00


                                    Basement - gartland                                                                                      $50.00


                                    Basement - assorted seasonal florals and other decorations

                                    Location: 2919 N. Mill Road                                                                            $150.00


                                    Bedroom one - miscellanous items
                                    Location: 146 W. Mill Street, Columbus WI 53925                                                          $75.00


                                    Bedroom two - Shelve end of bed
                                    Location: 146 W. Mill Street, Columbus WI 53925                                                          $20.00




Official Form 106A/B                                                   Schedule A/B: Property                                                 page 17
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 Debtor 1       Michael S. Eisenga                                                               Case number (if known)    20-10423


                                    Bedroom two - chair
                                    Location: 146 W. Mill Street, Columbus WI 53925                                                              $25.00


                                    Bedroom two - clothes
                                    Location: 146 W. Mill Street, Columbus WI 53925                                                            $200.00


                                    Bedroom two - miscellanous items
                                    Location: 146 W. Mill Street, Columbus WI 53925                                                              $75.00


                                    Bedroom three - queen bed set
                                    Location: 146 W. Mill Street, Columbus WI 53925                                                            $350.00


                                    Bedroom three - rug
                                    Location: 146 W. Mill Street, Columbus WI 53925                                                              $50.00


                                    Bedroom three - picture
                                    Location: 146 W. Mill Street, Columbus WI 53925                                                              $50.00


                                    Bedroom three - monitor
                                    Location: 146 W. Mill Street, Columbus WI 53925                                                              $10.00


                                    Bedroom three - clothes
                                    Location: 146 W. Mill Street, Columbus WI 53925                                                            $150.00


                                    Bedroom three - Miscellaneous item
                                    Location: 146 W. Mill Street, Columbus WI 53925                                                              $75.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    PC
                                    Location: 146 W. Mill Street, Columbus WI 53925
                                     Every line item below is at this location                                                                 $100.00


                                    Monitor                                                                                                        $5.00


                                    Monitor                                                                                                        $5.00


                                    Printer                                                                                                      $25.00


                                    Big screen TV 2010                                                                                         $100.00


                                    DVD player                                                                                                   $20.00



Official Form 106A/B                                                   Schedule A/B: Property                                                     page 18
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 Debtor 1       Michael S. Eisenga                                                                  Case number (if known)     20-10423


                                    Home theater                                                                                                     $75.00


                                    Back massager                                                                                                    $35.00


                                    Foot massager                                                                                                    $35.00


                                    Living room hand massager                                                                                        $15.00


                                    Living room TV                                                                                                   $25.00


                                    Computer and monitors                                                                                            $50.00


                                    Printer                                                                                                          $15.00


                                    Flat screen TV                                                                                                   $75.00


                                    DVD player                                                                                                       $20.00


                                    Master bedroom TV                                                                                                $50.00


                                    Bedroom two - TV                                                                                                 $50.00


                                    Media room - 65 inch TV                                                                                        $150.00


                                    Media room - DVD player                                                                                          $20.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
     Yes.     Describe.....

                                    Antique candy dish                                                                                               $10.00


                                    Antique clock                                                                                                    $75.00


                                    Gold mirror and table                                                                                          $150.00


                                    Jade ship                                                                                                      $100.00


                                    Russian stamps book                                                                                              $50.00


                                    Chinese stamp album                                                                                              $75.00

Official Form 106A/B                                                   Schedule A/B: Property                                                         page 19
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)    20-10423


                                    Living room antique lamp                                                                                    $20.00


                                    Green Bay Packer football and case                                                                        $750.00


                                    Antique chair
                                     Location: 2919 N. Mill Road
                                    Every line item below is at this location                                                                 $100.00


                                    Ten Versace chairs                                                                                      $1,000.00


                                    Antique desk                                                                                              $350.00


                                    Antique looking telescope                                                                                 $150.00


                                    French china tea set                                                                                        $25.00


                                    Antique tea set and cups                                                                                  $275.00


                                    KR china set                                                                                              $300.00


                                    Antique cupboard                                                                                          $400.00


                                    Basement - antique desk                                                                                     $75.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
     Yes.     Describe.....

                                    Binoculars
                                    Location: 146 W. Mill Street, Columbus WI 53925                                                             $25.00


                                    Stamps
                                    Location: 146 W. Mill Street, Columbus WI 53925                                                           $150.00


                                    Six bikes

                                     Location: 2919 N. Mill Road
                                     Every line item below is at this location                                                                $250.00


                                    Three sleds                                                                                                 $50.00


                                    Toboggan                                                                                                    $15.00




Official Form 106A/B                                                   Schedule A/B: Property                                                    page 20
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 Debtor 1       Michael S. Eisenga                                                              Case number (if known)   20-10423


                                    Boat tube                                                                                                $65.00


                                    Fooze ball                                                                                               $50.00


                                    Basement - assorted supplies                                                                             $45.00


                                    Row boat                                                                                               $100.00


                                    Canoe 1                                                                                                $150.00


                                    Canoe 2                                                                                                $150.00


                                    Kayak                                                                                                    $75.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    Shoes
                                    Location: 146 W. Mill Street, Columbus WI 53925
                                    Every line item below is at this location                                                                $20.00


                                    Jackets                                                                                                $100.00


                                    Clothes                                                                                                $750.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
     No
     Yes. Describe.....
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.     Give specific information.....

                                    Assorted office supplies                                                                                 $15.00


                                    Indonesian pipe                                                                                          $25.00



Official Form 106A/B                                                   Schedule A/B: Property                                                 page 21
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 Debtor 1          Michael S. Eisenga                                                                                       Case number (if known)   20-10423


                                            Entertainment cherry                                                                                                       $250.00


                                            Kerosene lamp
                                             Location: 2919 N. Mill Road
                                            Every line item below is at this location                                                                                    $25.00


                                            Hedgecutter                                                                                                                  $50.00


                                            Long branch saw                                                                                                              $75.00


                                            Air compressor                                                                                                               $50.00


                                            Misc. garage items                                                                                                         $150.00


                                            Automatic pool vacuum                                                                                                      $200.00


                                            Sprinklers                                                                                                                   $75.00


                                            Various pool toys                                                                                                          $100.00


                                            Patio set with umbrella                                                                                                    $200.00


                                            Eight rubber flower urns                                                                                                     $80.00


                                            Firewood                                                                                                                     $75.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $50,052.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                               Cash                                  $6,812.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                                                Institution name:


Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 22
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 Debtor 1        Michael S. Eisenga                                                                           Case number (if known)    20-10423
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                   Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
     No
     Yes. Give specific information about them...................
                                          Name of entity:                                                      % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                        Type of account:                    Institution name:

                                        IRA                                 RBC SEP                                                                   $58,839.00


                                        401(k)                              American Funds                                                                    $0.00


                                        IRA                                 Harris                                                                    $83,539.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                            Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
    Yes.............    Issuer name and description.


                                   Hartford Annuity                                                                                                 $179,543.00


24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

                                              Michael S. Eisenga Living Trust                                                                                 $0.00


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...


Official Form 106A/B                                                   Schedule A/B: Property                                                                page 23
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 Debtor 1        Michael S. Eisenga                                                                                              Case number (if known)        20-10423
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                                                  Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                             Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $328,733.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.


                                                                                                                                                                 Current value of the

Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 24
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 Debtor 1       Michael S. Eisenga                                                                     Case number (if known)   20-10423
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
     Yes. Describe.....

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
     No
     Yes. Describe.....

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
     Yes. Describe.....

41. Inventory
     No
     Yes. Describe.....

42. Interests in partnerships or joint ventures
     No
     Yes. Give specific information about them...................
                                         Name of entity:                                                % of ownership:


43. Customer lists, mailing lists, or other compilations
    No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

              No
              Yes. Describe.....

44. Any business-related property you did not already list
    No
     Yes. Give specific information.........

                                         First American Properties, LLC
                                         146 W. Mill Street
                                         Columbus, WI 53925                                                                                           $0.00


                                         American Lending Solutions, LLC
                                         N4365 State Highway 73
                                         Columbus, WI 53925                                                                                           $0.00


                                         Advantage Management, LLC
                                         c/o First American Funding
                                         N4365 State Hwy 73
                                         Columbus, WI 53925                                                                                           $0.00


                                         BDW Holdings, LLC
                                         N4365 State Road 73
                                         Columbus, WI 53925                                                                                           $0.00

Official Form 106A/B                                                   Schedule A/B: Property                                                        page 25
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            Case 3-20-10423-cjf                             Doc 33            Filed 03/11/20 Entered 03/11/20 22:31:10                                               Desc Main
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 Debtor 1         Michael S. Eisenga                                                                                                    Case number (if known)   20-10423


                                               Advantage Management Waupun, LLC
                                               N4365 State Road 73
                                               Columbus, WI 53925                                                                                                                      $0.00


                                               Advantage Management Beaver Dam, LLC
                                               N4365 State Road 73
                                               Columbus, WI 53925                                                                                                                      $0.00



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................                      $0.00

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.



 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $678,000.00
 56. Part 2: Total vehicles, line 5                                                                          $48,900.00
 57. Part 3: Total personal and household items, line 15                                                     $50,052.00
 58. Part 4: Total financial assets, line 36                                                                $328,733.00
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $427,685.00               Copy personal property total           $427,685.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,105,685.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 26
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              Case 3-20-10423-cjf                    Doc 33           Filed 03/11/20 Entered 03/11/20 22:31:10                               Desc Main
                                                                     Document     Page 29 of 81
 Fill in this information to identify your case:

 Debtor 1                Michael S. Eisenga
                         First Name                         Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                    Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF WISCONSIN

 Case number           20-10423
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      146 W. Mill Street Columbus, WI                                                                                            Wis. Stat. § 815.20
      53925 Columbia County
                                                                     $260,000.00                                $75,000.00
      Line from Schedule A/B: 1.1                                                        100% of fair market value, up to
                                                                                             any applicable statutory limit

      1985 Rolls Royce Comiche                                                                                                   Wis. Stat. § 815.18(3)(g)
      Line from Schedule A/B: 3.1
                                                                      $27,500.00                                  $3,000.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      1960 Oldsmobile                                                                                                            Wis. Stat. § 815.18(3)(g)
      Line from Schedule A/B: 3.2
                                                                       $3,500.00                                    $850.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      Golf cart                                                                                                                  Wis. Stat. § 815.18(3)(g)
      Line from Schedule A/B: 4.3
                                                                       $2,000.00                                    $150.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      Books                                                                                                                      Wis. Stat. § 815.18(3)(d)
       Location: 146 W. Mill Street,
                                                                          $55.00                                       $1.00
      Columbus WI 53925                                                                  100% of fair market value, up to
      Every line below is at this location                                                   any applicable statutory limit
      Line from Schedule A/B: 6.1



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 32
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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Heater                                                                                                                       Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.2
                                                                          $10.00                                     $0.10
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Lamp                                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.3
                                                                            $5.00                                    $0.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bookshelf                                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.4
                                                                          $15.00                                     $1.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Toybox                                                                                                                       Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.5
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     I-shaped couch                                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.6
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Coffee table                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.7
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Massage chair                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.8
                                                                         $200.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     TV table                                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.9
                                                                          $35.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     End table                                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.10
                                                                          $10.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     DVDs                                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.11
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Spider lamp                                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.12
                                                                          $20.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Picture                                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.13
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 2 of 32
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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Family room clock                                                                                                            Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.14
                                                                            $5.00                                    $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Framed Grand Cayman picture                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.15
                                                                          $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Dining room set, one table, eight                                                                                            Wis. Stat. § 815.18(3)(d)
     chairs
                                                                         $500.00                                  $100.00
     Line from Schedule A/B: 6.16                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Oriental rug                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.17
                                                                         $300.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Recliner                                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.18
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Coffee table                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.19
                                                                          $15.00                                   $15.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Plant                                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.20
                                                                            $5.00                                    $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Buffett                                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.21
                                                                         $600.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Fake plant bouchet                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.22
                                                                          $75.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wall mirror                                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.23
                                                                          $75.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Glass ship                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.24
                                                                          $35.00                                   $35.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Small three legged table                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.25
                                                                          $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 3 of 32
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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Royal Albert country roses set                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.26
                                                                         $350.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Red gold center piece                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.27
                                                                         $500.00                                  $200.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Silver tea set                                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.28
                                                                         $150.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Silver bowl                                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.29
                                                                         $150.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Ceramic green bowl                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.30
                                                                          $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Small rugs set                                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.31
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Mike's 4th grade painting                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.32
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Silverware                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.33
                                                                          $50.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wine glasses                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.34
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wheat ceramic plate set                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.35
                                                                          $40.00                                     $4.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Corelle wear set                                                                                                             Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.36
                                                                          $30.00                                   $30.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Steak knives                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.37
                                                                          $10.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 4 of 32
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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Various cups, glasses, ladels,                                      $150.00                                                 Wis. Stat. § 815.18(3)(d)
     kitchen spoons, and bowls
     Line from Schedule A/B: 6.38                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kurig                                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.39
                                                                          $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Coffee pot                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.40
                                                                          $10.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Refrigerator                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.42
                                                                         $250.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Microwave                                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.43
                                                                          $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Spices                                                                                                                       Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.44
                                                                            $5.00                                    $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cookbooks                                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.45
                                                                          $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kitchen table and chairs                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.46
                                                                         $150.00                                   $30.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Tools and tool box                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.47
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Picture frames                                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.48
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Mixer                                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.49
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kitchen clock                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.50
                                                                          $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 5 of 32
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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Whiteboard                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.51
                                                                          $15.00                                   $15.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Griddle                                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.52
                                                                          $10.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Roast pot                                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.53
                                                                          $10.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Various kitchen utensils                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.54
                                                                          $40.00                                     $4.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Sofa                                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.55
                                                                          $75.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Burgundy wing chair                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.56
                                                                          $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Oriental coffee table                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.57
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Egyptian rug                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.58
                                                                         $500.00                                  $200.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living room end table                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.59
                                                                          $10.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Chess set                                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.60
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Italian tall clock                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.61
                                                                         $750.00                                  $200.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Italian small wall clock                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.62
                                                                         $250.00                                   $75.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 6 of 32
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            Case 3-20-10423-cjf                      Doc 33           Filed 03/11/20 Entered 03/11/20 22:31:10                                Desc Main
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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Display table                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.63
                                                                         $100.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Rocking horse                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.64
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Egyptian tea set                                                                                                             Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.65
                                                                         $150.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Second Egyptian tea set                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.66
                                                                         $150.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Italian gondola                                                                                                              Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.67
                                                                          $10.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Greek vase                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.68
                                                                          $75.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Picture frames                                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.69
                                                                          $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Eastlake settee                                                                                                              Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.70
                                                                         $350.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Drum table                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.71
                                                                          $75.00                                   $75.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Small brass clock                                                                                                            Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.72
                                                                          $10.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Silver containers                                                                                                            Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.73
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living room picture                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.74
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Third Egyptian tea set                                                                                                       Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.75
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Large candle                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.76
                                                                            $5.00                                    $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living room ceramic tea cup                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.77
                                                                          $15.00                                   $15.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     French urn                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.78
                                                                          $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Chinese vase                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.79
                                                                          $10.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Rose picture                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.80
                                                                         $100.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wooden chinese statute                                                                                                       Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.81
                                                                         $100.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Chinese pottery                                                                                                              Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.82
                                                                       $2,500.00                                  $200.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Picture frame on wall containing                                                                                             Wis. Stat. § 815.18(3)(d)
     family protrait
                                                                          $75.00                                   $15.00
     Line from Schedule A/B: 6.83                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living room floor lamp                                                                                                       Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.84
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living room brass floor lamp                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.85
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Master - bedroom set                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.86
                                                                         $650.00                                  $300.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Walnut wardrobe                                                                                                              Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.87
                                                                       $1,000.00                                  $500.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Master bedroom lamp                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.88
                                                                          $50.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Picture in bathroom of master                                                                                                Wis. Stat. § 815.18(3)(d)
     bedroom
                                                                          $35.00                                   $15.00
     Line from Schedule A/B: 6.89                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Small John 3:16 plaque                                                                                                       Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.90
                                                                          $25.00                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Assorted towels, washclothes, and                                                                                            Wis. Stat. § 815.18(3)(d)
     bedding
                                                                         $150.00                                   $15.00
     Line from Schedule A/B: 6.91                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom one - King bed and                                                                                                   Wis. Stat. § 815.18(3)(d)
     nightstand
                                                                         $150.00                                   $75.00
     Line from Schedule A/B: 6.92                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom one - Chest                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.93
                                                                         $100.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom one - Eastlake chair                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.94
                                                                         $200.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom one - child's clothes                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.95
                                                                         $150.00                                   $75.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom one - picture                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.96
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom one - toys                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.97
                                                                         $100.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom two - queen bedroom set                                                                                              Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.98
                                                                         $150.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Bedroom two -shelf                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.99
                                                                          $10.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom two - desk                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.100
                                                                          $25.00                                     $2.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Dog kennel                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.101
                                                                          $50.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Washer                                                                                                                       Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.102
                                                                         $100.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Dryer                                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.103
                                                                         $100.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Iron                                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.104
                                                                          $15.00                                     $7.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Ironing board                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.105
                                                                          $25.00                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cleaning supplies and laundry                                                                                                Wis. Stat. § 815.18(3)(d)
     supplies
                                                                          $35.00                                   $17.50
     Line from Schedule A/B: 6.106                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Small chest freezer                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.108
                                                                          $75.00                                   $37.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Utility room shelf                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.109
                                                                          $10.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Beach painting                                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.110
                                                                         $200.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Storage closet two shelves                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.111
                                                                          $40.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Christmas decorations                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.112
                                                                         $150.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Luggage                                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.113
                                                                         $200.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Castle oil painting                                                                                                          Wis. Stat. § 815.18(3)(d)
      Location: 2919 N. Mill Road
                                                                         $250.00                                  $125.00
      Every line item below is at this                                                 100% of fair market value, up to
     location                                                                              any applicable statutory limit
     Line from Schedule A/B: 6.114

     Settee                                                                                                                       Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.115
                                                                         $200.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Small table                                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.116
                                                                         $150.00                                   $75.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Umbrella urn                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.117
                                                                          $25.00                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Flower bouchet                                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.118
                                                                          $10.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Old faithful oil painting                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.119
                                                                         $250.00                                  $125.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two purple florals                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.120
                                                                          $30.00                                   $15.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Poker oil painting                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.121
                                                                          $75.00                                   $37.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Chess set table                                                                                                              Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.122
                                                                         $275.00                                  $137.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit




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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Basket                                                                                                                       Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.123
                                                                          $15.00                                     $7.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Four floor lamps                                                                                                             Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.124
                                                                         $400.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two leather chairs                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.125
                                                                         $600.00                                  $300.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Books                                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.126
                                                                          $75.00                                   $37.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two florals on fireplace                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.127
                                                                          $20.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Player piano                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.128
                                                                         $275.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Pabst mansion figurine                                                                                                       Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.129
                                                                          $20.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     House blue prints                                                                                                            Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.130
                                                                          $75.00                                   $37.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bankers lamp                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.131
                                                                          $50.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Small table                                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.132
                                                                          $75.00                                   $37.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Four marble pillars with bronze                                                                                              Wis. Stat. § 815.18(3)(d)
     statutes
                                                                       $1,000.00                                  $160.00
     Line from Schedule A/B: 6.133                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Castle oil painting                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.134
                                                                         $200.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Corner table                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.135
                                                                          $50.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cathedral oil painting                                                                                                       Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.136
                                                                          $75.00                                   $37.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living room set                                                                                                              Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.137
                                                                       $1,500.00                                  $700.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two area rugs                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.138
                                                                         $200.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two Foot stools                                                                                                              Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.139
                                                                         $200.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Piano lamp                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.140
                                                                          $15.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Beagle oil painting above fireplace                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.141
                                                                          $50.00                                   $15.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two flower bouchets                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.142
                                                                          $20.00                                     $2.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Dining room set, one table, thirteen                                                                                         Wis. Stat. § 815.18(3)(d)
     chairs
                                                                         $650.00                                  $150.00
     Line from Schedule A/B: 6.143                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Large cathedral street scene oil                                                                                             Wis. Stat. § 815.18(3)(d)
     painting
                                                                         $100.00                                   $25.00
     Line from Schedule A/B: 6.145                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Flower bouchet                                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.146
                                                                          $10.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Display table                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.147
                                                                          $35.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Tea cart                                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.148
                                                                          $75.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two small lamps with crystal                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.149
                                                                          $60.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Small end table                                                                                                              Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.150
                                                                            $5.00                                    $0.25
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Sunroom desk                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.151
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Chair                                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.152
                                                                          $10.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     File cabinet                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.153
                                                                            $5.00                                    $0.25
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Sunroom office supplies                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.154
                                                                          $25.00                                     $0.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Sunroom living room set                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.155
                                                                         $300.00                                   $30.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Three fake flowers                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.156
                                                                          $30.00                                     $0.30
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Small Venice oil painting                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.157
                                                                          $55.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Medium Venice oil painting                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.158
                                                                          $75.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Large Venice oil painting                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.159
                                                                         $125.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Conservatory two area rugs                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.160
                                                                         $250.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Conservatory dining room 1 table                                                                                             Wis. Stat. § 815.18(3)(d)
     and 10 chairs
                                                                         $550.00                                   $50.00
     Line from Schedule A/B: 6.161                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Three fake bouchets                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.162
                                                                          $30.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two fake red flowers                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.163
                                                                          $20.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Conservatory two fake plants                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.164
                                                                          $30.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Conservatory two larger fake plants                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.165
                                                                          $30.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Floor lamp                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.166
                                                                          $35.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     White buffett                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.167
                                                                          $75.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Various supplies in buffett                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.168
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cutting board                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.169
                                                                          $10.00                                     $0.10
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Rotan living room set                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.170
                                                                         $450.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Spring scene oil painting                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.171
                                                                          $75.00                                     $7.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     French China set                                                                                                             Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.172
                                                                         $800.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two silver plates                                                                                                            Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.173
                                                                         $200.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Various assorted dishes, plates,                                                                                             Wis. Stat. § 815.18(3)(d)
     bowls, tablecloths, cups
                                                                         $150.00                                   $15.00
      Location: 2919 N. Mill Road                                                      100% of fair market value, up to
     Line from Schedule A/B: 6.174                                                         any applicable statutory limit

     Pantry cutting board                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.175
                                                                          $10.00                                     $0.10
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Board games                                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.176
                                                                          $15.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Griddle                                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.177
                                                                          $10.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Miscellanous kitchenware                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.178
                                                                         $300.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kitchen dinette set one table and six                                                                                        Wis. Stat. § 815.18(3)(d)
     chairs
                                                                         $450.00                                   $45.00
     Line from Schedule A/B: 6.179                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Fake bouchet                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.180
                                                                          $15.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wine fridge                                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.181
                                                                          $65.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Hutch for microwave and winecooler                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.182
                                                                          $75.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Refrigerator                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.183
                                                                         $250.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Various kitchen utensils                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.184
                                                                          $40.00                                     $4.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Various washclothes, towels, knives,                                                                                         Wis. Stat. § 815.18(3)(d)
     ladels, spatchulas, and other
                                                                          $75.00                                   $20.00
     kitchenware                                                                       100% of fair market value, up to
     Line from Schedule A/B: 6.185                                                         any applicable statutory limit

     Knife set                                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.186
                                                                          $25.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kurig                                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.187
                                                                          $15.00                                     $1.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Coffee pot                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.188
                                                                          $15.00                                     $1.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Small hand held blender                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.189
                                                                          $10.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Microwave                                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.190
                                                                          $15.00                                     $1.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Master bedroom set                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.191
                                                                       $1,000.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two area rugs                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.192
                                                                         $850.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Long area rug                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.193
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Master bedroom mirror                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.194
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     TV table                                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.195
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Night stand lamp                                                                                                             Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.196
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two chairs                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.197
                                                                         $400.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Footrest                                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.198
                                                                         $150.00                                   $30.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Master bedroom clock                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.199
                                                                          $10.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Master bedroom various clothes,                                                                                              Wis. Stat. § 815.18(3)(d)
     cleaning supplies, tolietries, towels,
                                                                         $200.00                                   $50.00
     and washclothes                                                                   100% of fair market value, up to
     Line from Schedule A/B: 6.200                                                         any applicable statutory limit

     Miscellanous master bedroom items                                                                                            Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.201
                                                                         $150.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     George Washington painting                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.202
                                                                         $150.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Ship oil painting                                                                                                            Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.203
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Larger ship oil painting                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.204
                                                                         $150.00                                   $40.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Master bedroom two floor lamps                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.205
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Fake flower in the master bedroom                                                                                            Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.206
                                                                          $15.00                                     $0.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Area rug in four season                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.207
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Four season wicker                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.208
                                                                         $400.00                                   $40.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Statute of Liberty oil painting                                                                                              Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.209
                                                                         $150.00                                   $40.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom two - bedroom set                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.210
                                                                         $450.00                                   $45.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom two - small bedside table                                                                                            Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.211
                                                                          $10.00                                     $0.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom two - lamp                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.212
                                                                          $50.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom two - lamp                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.213
                                                                          $15.00                                     $1.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom two - Summer scene oil                                                                                               Wis. Stat. § 815.18(3)(d)
     painting
                                                                          $75.00                                   $10.00
     Line from Schedule A/B: 6.214                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Four season porch wicker                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.215
                                                                         $400.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom set - fake flower                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.216
                                                                          $40.00                                     $4.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom two - Area rug in four                                                                                               Wis. Stat. § 815.18(3)(d)
     season
                                                                         $100.00                                   $10.00
     Line from Schedule A/B: 6.217                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom two - clock                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.218
                                                                            $5.00                                    $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom two - floor lamp                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.219
                                                                          $10.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Bedroom three - bedroom set                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.220
                                                                         $450.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom three - small floor shelf                                                                                            Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.221
                                                                          $10.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom three - clock                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.222
                                                                            $5.00                                    $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom three - lamp                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.223
                                                                          $35.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom three - rocking chair                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.224
                                                                          $50.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom four - Bedroom set                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.225
                                                                         $450.00                                  $150.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom four - lamp                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.226
                                                                          $40.00                                     $4.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom five - bed                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.227
                                                                         $100.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom five - nightstand                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.228
                                                                          $25.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom five - chair                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.229
                                                                          $25.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom five - coffe table                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.230
                                                                          $35.00                                   $15.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 20 of 32
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     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Approximately two sets of towlels                                                                                            Wis. Stat. § 815.18(3)(d)
     ,washclothes, hand towels, soaps,
                                                                         $450.00                                   $45.00
     shampoo, bedding, comforters, and                                                 100% of fair market value, up to
     misc for entire house                                                                 any applicable statutory limit
     Line from Schedule A/B: 6.231

     Supply closet - light bulbs, assorted                                                                                        Wis. Stat. § 815.18(3)(d)
     parts, and light fixtures
                                                                         $100.00                                   $10.00
     Line from Schedule A/B: 6.232                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     2nd floor bathroom decoration                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.233
                                                                          $25.00                                     $2.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom six - bedroom set                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.234
                                                                         $300.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom six - table                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.235
                                                                          $25.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom six - wicker sofa                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.236
                                                                         $200.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     2nd floor hall - Four fall scene oil                                                                                         Wis. Stat. § 815.18(3)(d)
     paintingss
                                                                         $300.00                                  $100.00
     Line from Schedule A/B: 6.237                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     2nd floor hall - Ships oil painting                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.238
                                                                          $75.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     2nd floor hall - Oil painting at the end                                                                                     Wis. Stat. § 815.18(3)(d)
     of the hall
                                                                          $75.00                                   $25.00
     Line from Schedule A/B: 6.239                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom seven - Wicker bed set                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.240
                                                                         $200.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom seven - wicker couch                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.241
                                                                         $200.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit




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     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Bedroom seven - wicker chair                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.242
                                                                          $75.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom seven - wicker rocker                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.243
                                                                         $125.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom seven - wicker settee                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.244
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom seven - wicker coffee table                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.245
                                                                         $125.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom seven - two wicker end                                                                                               Wis. Stat. § 815.18(3)(d)
     tables
                                                                         $100.00                                   $10.00
     Line from Schedule A/B: 6.246                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom seven - two window AC                                                                                                Wis. Stat. § 815.18(3)(d)
     units
                                                                         $400.00                                   $40.00
     Line from Schedule A/B: 6.247                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Billard oil painting                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.248
                                                                          $75.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two director chairs                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.249
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Game table                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.250
                                                                         $100.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Pool table                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.251
                                                                         $350.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Sofa                                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.252
                                                                          $75.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two end tables                                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.253
                                                                          $40.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Pool sticks and assorted items                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.254
                                                                          $75.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Media room - six chairs                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.255
                                                                         $300.00                                   $30.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Media room - TV table                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.256
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Media room - various games and                                                                                               Wis. Stat. § 815.18(3)(d)
     DVDs
                                                                          $75.00                                   $20.00
     Line from Schedule A/B: 6.257                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Media room - three bean bag chairs                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.258
                                                                          $12.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Media room - heater                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.259
                                                                          $10.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Playroom - two chairs                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.260
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Play room - end table                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.261
                                                                          $15.00                                     $1.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Art easel                                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.262
                                                                          $10.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bonus room - five twin beds                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.263
                                                                         $150.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bonus room - heater                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.264
                                                                          $15.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bonus room - dog kennel                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.265
                                                                          $25.00                                     $2.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Washer                                                                                                                       Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.266
                                                                         $150.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Dryer                                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.267
                                                                         $150.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Utility room - table                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.268
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Beach towels                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.269
                                                                          $65.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Assorted cleaning supplies and tools                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.270
                                                                          $75.00                                     $2.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wildwood mosaic                                                                                                              Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.271
                                                                          $15.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Weber grill                                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.272
                                                                         $150.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Rakes, shovels, garden supplies, and                                                                                         Wis. Stat. § 815.18(3)(d)
     utensils
                                                                         $125.00                                   $10.00
     Line from Schedule A/B: 6.273                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Nine beach chairs and two beach                                                                                              Wis. Stat. § 815.18(3)(d)
     small foot rests
                                                                          $75.00                                   $10.00
     Line from Schedule A/B: 6.274                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Two old sofas                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.275
                                                                          $20.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clubhouse miscelleanous items                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.276
                                                                          $25.00                                     $2.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Pool supplies                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.277
                                                                          $75.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Patio set -12 chairs, 2 loungers, 2                                                                                          Wis. Stat. § 815.18(3)(d)
     tables, 2 umbrellas
                                                                         $600.00                                   $50.00
     Line from Schedule A/B: 6.278                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     plastic table                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.279
                                                                          $15.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - two tables                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.280
                                                                          $60.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - ten chairs                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.281
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - four area heaters                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.282
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - four area heaters                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.282
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - refrigerator                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.283
                                                                          $25.00                                     $2.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - chest freezer                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.284
                                                                          $75.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - tools                                                                                                             Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.285
                                                                          $75.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - three area rugs                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.286
                                                                         $500.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - four Christmas trees and                                                                                          Wis. Stat. § 815.18(3)(d)
     decorations
                                                                         $400.00                                   $40.00
     Line from Schedule A/B: 6.288                                                     100% of fair market value, up to
                                                                                           any applicable statutory limit

     Nativity set                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.289
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


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     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Basement - gartland                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.290
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - assorted seasonal florals                                                                                         Wis. Stat. § 815.18(3)(d)
     and other decorations
                                                                         $150.00                                   $20.00
                                                                                       100% of fair market value, up to
     Location: 2919 N. Mill Road                                                           any applicable statutory limit
     Line from Schedule A/B: 6.291

     Bedroom one - miscellanous items                                                                                             Wis. Stat. § 815.18(3)(d)
      Location: 146 W. Mill Street,
                                                                          $75.00                                   $10.00
     Columbus WI 53925                                                                 100% of fair market value, up to
     Line from Schedule A/B: 6.292                                                         any applicable statutory limit

     Bedroom two - chair                                                                                                          Wis. Stat. § 815.18(3)(d)
      Location: 146 W. Mill Street,
                                                                          $25.00                                     $2.00
     Columbus WI 53925                                                                 100% of fair market value, up to
     Line from Schedule A/B: 6.294                                                         any applicable statutory limit

     Bedroom two - clothes                                                                                                        Wis. Stat. § 815.18(3)(d)
      Location: 146 W. Mill Street,
                                                                         $200.00                                   $20.00
     Columbus WI 53925                                                                 100% of fair market value, up to
     Line from Schedule A/B: 6.295                                                         any applicable statutory limit

     Bedroom two - miscellanous items                                                                                             Wis. Stat. § 815.18(3)(d)
      Location: 146 W. Mill Street,
                                                                          $75.00                                   $15.00
     Columbus WI 53925                                                                 100% of fair market value, up to
     Line from Schedule A/B: 6.296                                                         any applicable statutory limit

     Bedroom three - queen bed set                                                                                                Wis. Stat. § 815.18(3)(d)
      Location: 146 W. Mill Street,
                                                                         $350.00                                   $50.00
     Columbus WI 53925                                                                 100% of fair market value, up to
     Line from Schedule A/B: 6.297                                                         any applicable statutory limit

     Bedroom three - rug                                                                                                          Wis. Stat. § 815.18(3)(d)
      Location: 146 W. Mill Street,
                                                                          $50.00                                   $10.00
     Columbus WI 53925                                                                 100% of fair market value, up to
     Line from Schedule A/B: 6.298                                                         any applicable statutory limit

     Bedroom three - picture                                                                                                      Wis. Stat. § 815.18(3)(d)
      Location: 146 W. Mill Street,
                                                                          $50.00                                   $10.00
     Columbus WI 53925                                                                 100% of fair market value, up to
     Line from Schedule A/B: 6.299                                                         any applicable statutory limit

     Bedroom three - monitor                                                                                                      Wis. Stat. § 815.18(3)(d)
      Location: 146 W. Mill Street,
                                                                          $10.00                                     $1.00
     Columbus WI 53925                                                                 100% of fair market value, up to
     Line from Schedule A/B: 6.300                                                         any applicable statutory limit

     Bedroom three - Miscellaneous item                                                                                           Wis. Stat. § 815.18(3)(d)
      Location: 146 W. Mill Street,
                                                                          $75.00                                   $20.00
     Columbus WI 53925                                                                 100% of fair market value, up to
     Line from Schedule A/B: 6.302                                                         any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 26 of 32
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            Case 3-20-10423-cjf                      Doc 33           Filed 03/11/20 Entered 03/11/20 22:31:10                                Desc Main
                                                                     Document     Page 55 of 81
 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     PC                                                                                                                           Wis. Stat. § 815.18(3)(d)
      Location: 146 W. Mill Street,
                                                                         $100.00                                   $20.00
     Columbus WI 53925                                                                 100% of fair market value, up to
      Every line item below is at this                                                     any applicable statutory limit
     location
     Line from Schedule A/B: 7.1

     Monitor                                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.2
                                                                            $5.00                                    $0.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Monitor                                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.3
                                                                            $5.00                                    $0.50
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Printer                                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.4
                                                                          $25.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Big screen TV 2010                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.5
                                                                         $100.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     DVD player                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.6
                                                                          $20.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Home theater                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.7
                                                                          $75.00                                   $30.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Back massager                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.8
                                                                          $35.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Foot massager                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.9
                                                                          $35.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living room hand massager                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.10
                                                                          $15.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living room TV                                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.11
                                                                          $25.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 27 of 32
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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Computer and monitors                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.12
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Printer                                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.13
                                                                          $15.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Flat screen TV                                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.14
                                                                          $75.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     DVD player                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.15
                                                                          $20.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Master bedroom TV                                                                                                            Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.16
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom two - TV                                                                                                             Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.17
                                                                          $50.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Media room - 65 inch TV                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.18
                                                                         $150.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Media room - DVD player                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.19
                                                                          $20.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Antique candy dish                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.1
                                                                          $10.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Antique clock                                                                                                                Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.2
                                                                          $75.00                                   $30.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Gold mirror and table                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.3
                                                                         $150.00                                   $70.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Jade ship                                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.4
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 28 of 32
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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Russian stamps book                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.5
                                                                          $50.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Chinese stamp album                                                                                                          Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.6
                                                                          $75.00                                   $35.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living room antique lamp                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.7
                                                                          $20.00                                     $2.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Green Bay Packer football and case                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.8
                                                                         $750.00                                  $300.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Antique chair                                                                                                                Wis. Stat. § 815.18(3)(d)
      Location: 2919 N. Mill Road
                                                                         $100.00                                   $40.00
      Every line item below is at this                                                 100% of fair market value, up to
     location                                                                              any applicable statutory limit
     Line from Schedule A/B: 8.9

     Ten Versace chairs                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.10
                                                                       $1,000.00                                  $200.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Antique looking telescope                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.12
                                                                         $150.00                                   $75.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     French china tea set                                                                                                         Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.13
                                                                          $25.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Antique tea set and cups                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.14
                                                                         $275.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     KR china set                                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.15
                                                                         $300.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Antique cupboard                                                                                                             Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.16
                                                                         $400.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 29 of 32
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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Basement - antique desk                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.17
                                                                          $75.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Binoculars                                                                                                                   Wis. Stat. § 815.18(3)(d)
      Location: 146 W. Mill Street,
                                                                          $25.00                                     $5.00
     Columbus WI 53925                                                                 100% of fair market value, up to
     Line from Schedule A/B: 9.1                                                           any applicable statutory limit

     Stamps                                                                                                                       Wis. Stat. § 815.18(3)(d)
      Location: 146 W. Mill Street,
                                                                         $150.00                                   $75.00
     Columbus WI 53925                                                                 100% of fair market value, up to
     Line from Schedule A/B: 9.2                                                           any applicable statutory limit

     Six bikes                                                                                                                    Wis. Stat. § 815.18(3)(d)
                                                                         $250.00                                   $20.00
      Location: 2919 N. Mill Road                                                      100% of fair market value, up to
      Every line item below is at this                                                     any applicable statutory limit
     location
     Line from Schedule A/B: 9.3

     Three sleds                                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 9.4
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Toboggan                                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 9.5
                                                                          $15.00                                     $1.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Boat tube                                                                                                                    Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 9.6
                                                                          $65.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Fooze ball                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 9.7
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - assorted supplies                                                                                                 Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 9.8
                                                                          $45.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Row boat                                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 9.9
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Canoe 1                                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 9.10
                                                                         $150.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 30 of 32
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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Canoe 2                                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 9.11
                                                                         $150.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kayak                                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 9.12
                                                                          $75.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Shoes                                                                                                                        Wis. Stat. § 815.18(3)(d)
      Location: 146 W. Mill Street,
                                                                          $20.00                                     $5.00
     Columbus WI 53925                                                                 100% of fair market value, up to
      Every line item below is at this                                                     any applicable statutory limit
     location
     Line from Schedule A/B: 11.1

     Jackets                                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 11.2
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothes                                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 11.3
                                                                         $750.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Hedgecutter                                                                                                                  Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 14.5
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Long branch saw                                                                                                              Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 14.6
                                                                          $75.00                                   $20.90
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Air compressor                                                                                                               Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 14.7
                                                                          $50.00                                     $5.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Misc. garage items                                                                                                           Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 14.8
                                                                         $150.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Automatic pool vacuum                                                                                                        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 14.9
                                                                         $200.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Sprinklers                                                                                                                   Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 14.10
                                                                          $75.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 31 of 32
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 Debtor 1    Michael S. Eisenga                                                                          Case number (if known)     20-10423
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Various pool toys                                                                                                            Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 14.11
                                                                         $100.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Patio set with umbrella                                                                                                      Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 14.12
                                                                         $200.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Eight rubber flower urns                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 14.13
                                                                          $80.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Firewood                                                                                                                     Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 14.14
                                                                          $75.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 32 of 32
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                                                                     Document     Page 61 of 81
 Fill in this information to identify your case:

 Debtor 1                   Michael S. Eisenga
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF WISCONSIN

 Case number           20-10423
 (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                  If any
         Falcon Leasing,Div.
 2.1                                                                                                            $39,117.60               $34,456.23           $4,661.37
         Falcon National Bank                     Describe the property that secures the claim:
         Creditor's Name                          2011 Ford F450, Bus, VIN
                                                  1FDFE4FS2BDA41247
         39 11th Ave South, Suite                 As of the date you file, the claim is: Check all that
         103                                      apply.
         Saint Cloud, MN 56301                     Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)

  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          02/13/2018                Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
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 Debtor 1 Michael S. Eisenga                                                                               Case number (if known)   20-10423
              First Name                  Middle Name                     Last Name


        Investors Community
 2.2                                                                                                             $125,000.00           $418,000.00              $0.00
        Bank                                       Describe the property that secures the claim:
        Creditor's Name
                                                   Schaefer road property

                                                   As of the date you file, the claim is: Check all that
        P.O. Box 700                               apply.
        Manitowoc, WI 54220                         Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


        State Bank of Cross
 2.3                                                                                                             $140,975.00           $418,000.00              $0.00
        Plains                                     Describe the property that secures the claim:
        Creditor's Name
                                                   Schaefer road property
        c/o Kimberly P. Sebranek
        Eustice, Laffey, Sebrane,
        & Auby, S.C.                               As of the date you file, the claim is: Check all that
                                                   apply.
        100 Wilburn Road, Suite                     Contingent
        202
        Sun Prairie, WI 53590
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                $305,092.60
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                               $305,092.60

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
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              Case 3-20-10423-cjf                     Doc 33           Filed 03/11/20 Entered 03/11/20 22:31:10                                            Desc Main
                                                                      Document     Page 63 of 81
 Fill in this information to identify your case:

 Debtor 1                   Michael S. Eisenga
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF WISCONSIN

 Case number           20-10423
 (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
                                                                                                                            $200,000.0
 2.1          Clare Hawthorne                                        Last 4 digits of account number                                 0              Unknown                 Unknown
              Priority Creditor's Name
              c/o Richard J. Podell                                  When was the debt incurred?
              Law Offices of Richard J. Podell,
              S.C.
              100 E. Wisconsin Ave, Ste. 1725
              Milwaukee, WI 53202
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes


 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 7
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 Debtor 1 Michael S. Eisenga                                                                             Case number (if known)        20-10423

 4.1      ACE Hardware Corporation                                   Last 4 digits of account number       7298                                             $104,289.77
          Nonpriority Creditor's Name
          c/o Euler Hermes Collections                               When was the debt incurred?
          800 Red Brook Blvd, Suite 400 C
          Owings Mills, MD 21117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.2      Alliant Credit Union                                       Last 4 digits of account number                                                       $6,975,000.00
          Nonpriority Creditor's Name
          11545 W. Touhy Ave                                         When was the debt incurred?
          Chicago, IL 60666
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.3      American Financial Network, Inc.                           Last 4 digits of account number                                                           $2,339.02
          Nonpriority Creditor's Name
          21403 Chagrin Blvd., Suite 230                             When was the debt incurred?
          Beachwood, OH 44122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 7
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 4.4      Associated Bank                                            Last 4 digits of account number                                                       $1,390,338.94
          Nonpriority Creditor's Name
          1305 Main Street                                           When was the debt incurred?
          Stevens Point, WI 54481
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.5      Godfrey & Kahn, S.C.                                       Last 4 digits of account number                                                        $122,765.23
          Nonpriority Creditor's Name
          833 E. Michigan Street, Suite 1800                         When was the debt incurred?
          Milwaukee, WI 53202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.6      Juliet M. Nowak                                            Last 4 digits of account number                                                           $9,329.33
          Nonpriority Creditor's Name
          325 Highview Lane                                          When was the debt incurred?
          Columbus, WI 53925
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 7
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 4.7      Lease Finance Group, LLC                                   Last 4 digits of account number                                                           $1,612.60
          Nonpriority Creditor's Name
          525 Washington Blvd., 15th Floor                           When was the debt incurred?
          Jersey City, NJ 07310
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.8      Midlands State Bank                                        Last 4 digits of account number                                                           $1,484.01
          Nonpriority Creditor's Name
          302 First Ave                                              When was the debt incurred?
          Sterling, IL 61081
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

          Miller, Brussell, Ebben, &
 4.9      Glaeske,LLC                                                Last 4 digits of account number                                                         $23,430.00
          Nonpriority Creditor's Name
          611 E. Wisconsin Street                                    When was the debt incurred?
          Portage, WI 53901
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 4 of 7
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 Debtor 1 Michael S. Eisenga                                                                             Case number (if known)        20-10423

 4.1
 0        Old National Bank                                          Last 4 digits of account number                                                       $5,907,733.12
          Nonpriority Creditor's Name
          P.O. Box 3728                                              When was the debt incurred?           05/05/2017
          Evansville, IN 47736
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.1
 1        PNC Bank                                                   Last 4 digits of account number                                                             $743.66
          Nonpriority Creditor's Name
          2730 Liberty Ave                                           When was the debt incurred?
          Pittsburgh, PA 15222
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.1
 2        State Bank of Cross Plains                                 Last 4 digits of account number                                                           $1,503.38
          Nonpriority Creditor's Name
          P.O. Box 218                                               When was the debt incurred?
          Cross Plains, WI 53528
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 5 of 7
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 Debtor 1 Michael S. Eisenga                                                                             Case number (if known)        20-10423

 4.1
 3         Suntrust Consumer Loan Payments                           Last 4 digits of account number                                                             $423.30
           Nonpriority Creditor's Name
           P.O. Box 791144                                           When was the debt incurred?
           Baltimore, MD 21279
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify

 4.1
 4         SUPERVALU Holdings, Inc.                                  Last 4 digits of account number                                                        $161,264.63
           Nonpriority Creditor's Name
           7075 Flying Cloud Drive                                   When was the debt incurred?
           Eden Prairie, MN 55344
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify

 Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                 6a.       $                 200,000.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                         6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                     6e.       $                 200,000.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                6f.       $                          0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                        6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts            6h.       $                          0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 6 of 7
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 Debtor 1 Michael S. Eisenga                                                                         Case number (if known)     20-10423
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $             14,702,256.99

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $             14,702,256.99




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 7
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 Fill in this information to identify your case:

 Debtor 1                Michael S. Eisenga
                         First Name                         Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name           Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF WISCONSIN

 Case number           20-10423
 (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease               State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      American Financial Network ,Inc.                                         Lease No. 3592
              21403 Chagrin Blvd., Suite 230
              Beachwood, OH 44122

     2.2      Lease Finance Group, LLC                                                 Lease No. 1993019A
              525 Washington Blvd., 15th Floor
              Jersey City, NJ 07310




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Michael S. Eisenga
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 WESTERN DISTRICT OF WISCONSIN

 Case number           20-10423
 (if known)
                                                                                                                            Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Advantage Management, LLC                                                            Schedule D, line
                N4365 State Road 73                                                                  Schedule E/F, line
                Columbus, WI 53925                                                                   Schedule G
                                                                                                    Falcon Leasing,Div. Falcon National Bank



    3.2         BDW Holdings Beaver Dam, LLC                                                         Schedule D, line
                N4365 State Hwy 73                                                                   Schedule E/F, line
                Columbus, WI 53925                                                                   Schedule G
                                                                                                    Key Bank National Association



    3.3         BDW Holdings Waupun, LLC                                                             Schedule D, line
                N4365 State Hwy 73                                                                   Schedule E/F, line
                Columbus, WI 53925                                                                   Schedule G
                                                                                                    Key Bank National Association




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 2
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 Debtor 1 Michael S. Eisenga                                                                 Case number (if known)   20-10423


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.4      First American Properties, LLC                                                        Schedule D, line
             N4365 State Hwy 73                                                                    Schedule E/F, line
             Columbus, WI 53925                                                                    Schedule G
                                                                                                  American Financial Network ,Inc.




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 2 of 2
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